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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

UNITED STATES DISTRICT COURT

 

 

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for the
District of New Jersey [=]
USA )
Plaintiff/Petitioner )
v. ) Civil Action No. 2:22-cr-00199-JMV
_ George Bratsenis )
Defendant/Respondent )
APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Long Form)
Affidavit in Support of the Application Instructions

I am a plaintiff or petitioner in this case and declare
that I am unable to pay the costs of these proceedings

and that I am entitled to the relief requested. I declare

under penalty of perjury that the information below is

true and understand that a false statement may result in

a dismissal of my efaims.

 

Complete all questions in this application and then sign it.
Do not leave any blanks: if the answer to a question is “0,”

“none,” or “not applicable (N/A),” write that response. If

you need more space to answer a question or to explain your

answer, attach a separate sheet of paper identified with your

name, your case's docket number, and the question number.

 

 

 

 

 

Signed: Date: 04/14/2023
Attorney Charles Kurmay for George Bratsenis-ander Standing Order 2020-07
1. For both you and your spouse estimate the average amount of money received from each of the following

sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,

semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

 

 

 

 

 

 

 

 

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse You Spouse
Employment $ 0.00 |§ 0.00 0.00 0.00
1f-
Self-employment $ 0.00 |$ 0.00 0.00 0.00
Income from real property (such as rental income) $ 0.00 |$ 0.00 0.00 0.00
Interest and dividends $ 0.00 |$ 0.00 0.00 0.00
Gifts
‘ $ 0.00 |$ 0.00 0.00 0.00
Ali
mony $ 0.00|$ 0.00 0.00 0.00
Child support $ 0.00 |$ 0.00 0.00 0.00

 

 

 

 

 

 

 
 

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Retirement (such as social security, pensions, annuities, $ 0.0013 0.0018 0.00 |$ 0.00
insurance)
Disability (such as social security, insurance payments) $ 0.00|$ 0.0018 0.00 |$ 0.00
U I t
nemproyment payments $ 0.00|$ 0.00|$ 0.00 {$ 0.00
Public-assistance (such as welfare) $ 0.00/$ o.ools 0.00 |$ 0.00
Oth ify):
oF (specify) § 0.00|$ 0.00|$ 0.00 |$ 0.00
Total monthly income: $ 0.008 0.0018 0.00 |$ 0.00
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
N/A N/A N/A $ 0.00
N/A N/A N/A $ 0.00
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
N/A N/A N/A $ 0.00
N/A N/A N/A $ 0.00
N/A N/A N/A $ 0.00
4. How much cash do you and your spouse have? $ 0.00

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

 

 

 

Financial institution Type of account Amount you have Amount your
spouse has
N/A N/A $ 0.00 |$ 0.00
N/A N/A $ 0.00 |$ 0.00
N/A N/A $ 0.00 |$ 0.00

 

 

 

 

 

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
 

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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse

Home (Value) $ 0.00
Other real estate (Value) $ 0.00
Motor vehicle #/ (Value) $ 0.00

Make and year: N/A

Model: N/A

Registration #: N/A
Motor vehicle #2 (Value) $ 0.00

Make and year: N/A

Model: N/A

Registration #: N/A
Other assets (Value) $ 0.00
Other assets (Value) $ 0.00
6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
N/A $ 0.00/$ 0.00
N/A $ 0.00|$ 0.00
N/A $ 0.00] 0.00
7. State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only) Relationship Age
N/A N/A 0
N/A NIA 0
N/A N/A 0

 

 

 

 
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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

 

You Your spouse

 

Rent or home-mortgage payment (including lot rented for mobile home)
Are real estate taxes included? O Yes O No 3 0.00 |$ 0.00
Is property insurance included? * Yes O No

 

 

 

 

 

 

 

 

Utilities (electricity, heating fuel, water, sewer, and telephone) $ 0.00 |$

Home maintenance (repairs and upkeep) 3 0.00 1$ 0.00
Food $ 0.00 |$ 0.00
Clothing 3 0.00 |$ 0.00
Laundry and dry-cleaning § 0.00 |$ 0.00
Medical and dental expenses $ 0.00 |$ 0.00
Transportation (not including motor vehicle payments) $ 0.00 |$ 0.00
Recreation, entertainment, newspapers, magazines, etc. $ 0.00 |$ 0.00

 

Insurance (not deducted from wages or included in mortgage payments)

 

 

 

 

 

 

 

 

 

 

 

Homeowner's or renter's: N/A $ 0.00 1$ 0.00
Life: N/A $ 0.00 |$ 0.00
Health: N/A $ 0.00 I$ 0.00
Motor vehicle: N/A $ 0.00 |$ 0.00
Other: N/A $ 0.00 |$ 0.00
Taxes (not deducted from wages or included in mortgage payments) (specify): $ 0.00 |$ 0.00
Installment payments
Motor vehicle: N/A $ 0.00 |$ 0.00
Credit card (name): N/A $ 0.00 |$ 0.00
Department store (name): N/A $ 0.00 |$ 0.00
Other: N/A $ 0.00/$ 0.00

 

 

Alimony, maintenance, and support paid to others $ 0.00 |$ 0.00

 

 

 

 
 

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Regular expenses for operation of business, profession, or farm (attach detailed
statement) $ 0.00}$ 0.00
Other (specify): N/A 5 0.00/$ 0.00

0.00 0.00
Total monthly expenses: 8

9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the

10.

11.

12.

next 12 months?

O Yes No If yes, describe on an attached sheet.

Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
lawsuit? O Yes No

If yes, how much? $ 0.00

Provide any other information that will help explain why you cannot pay the costs of these proceedings.
Mr. Bratsenis has been incarcerated for an extended périod of time and will continue to be incarcerated

indefinitely.

Identify the city and state of your legal residence.
Seok NY Y y 6

Your daytime phone number:

Yourage: 74 Your years of schooling:
